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 7   Attorneys for Defendants State of California,
     Governor Gavin Newsom, in his official capacity,
 8   and Attorney General Rob Bonta, in his official
     capacity
 9
                       IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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14   CITY OF HUNTINGTON                     Case No. 8:25-cv-00026-SSS-PDx
     BEACH, a California Charter City,
15   HUNTINGTON BEACH CITY                  STIPULATION AND JOINT
     COUNCIL, HUNTINGTON                    REQUEST TO (1) VACATE
16   BEACH POLICE DEPARTMENT,               BRIEFING SCHEDULE ON
     and the HUNTINGTON BEACH               DEFENDANTS’ MOTION TO
17   POLICE CHIEF, in his official          DISMISS FIRST AMENDED
     capacity as Chief of Police,           COMPLAINT, AND (2) EXTEND
18                                          DEFENDANTS’ TIME RESPOND
                                Plaintiffs, TO FIRST AMENDED
19                                          COMPLAINT
                 v.
20
                                          Judge:        Hon. Sunshine S. Sykes
21   THE STATE OF CALIFORNIA,             Trial Date: None set
     GAVIN NEWSOM, in his official        Action Filed: 1/07/2025
22   capacity as Governor of the State of
     California; ROBERT BONTA in
23   his official capacity as Attorney
     General of the State of California,
24
                              Defendants.
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28
                                            1                 Stipulation and Joint Request
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 1        In accordance with Local Rule 7-1, Plaintiffs City of Huntington Beach,
 2   Huntington Beach City Council, Huntington Beach Police Department, and the
 3   Huntington Beach Police Chief, in his official capacity, and Defendants State of
 4   California, Governor Gavin Newson, in his official capacity, and Attorney General
 5   Rob Bonta, in his official capacity, (collectively, the “Parties”) hereby stipulate as
 6   follows:
 7        WHEREAS, Plaintiffs filed the First Amended Complaint in this action
 8   (“FAC”) on March 5, 2025;
 9        WHEREAS, in accordance with the Parties’ previous stipulation, on March
10   19, 2025, this Court issued an Order setting a briefing schedule and hearing date for
11   Defendants’ motion to dismiss the FAC, ECF No. 18 (“Order Setting Briefing
12   Schedule”);
13        WHEREAS, under the Order Setting Briefing Schedule, Defendants’ deadline
14   to file their motion to dismiss the FAC is currently April 3, 2025;
15        WHEREAS, Plaintiffs intend to seek leave to amend the FAC and informed
16   Defendants of this intention on March 27, 2025 during the Parties’ attorneys’ Local
17   Rule 7-3 conference regarding the substance of Defendants’ motion to dismiss the
18   FAC;
19        WHEREAS, Defendants require additional time to prepare a proposed Second
20   Amended Complaint and the Defendants will then require time to consider the
21   proposed Second Amended Complaint and whether to stipulate to its filing;
22        WHEREAS, proceedings on Plaintiffs’ forthcoming request to file a Second
23   Amended Complaint would likely require a pause in proceedings on Defendant’s
24   motion to dismiss the FAC, and potentially moot the motion;
25        NOW THEREFORE,
26        The Parties have agreed to and hereby do ask the Court to enter an Order
27   (1) vacating the briefing schedule and hearing date set in the Order Setting Briefing
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                                               2                     Stipulation and Joint Request
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 1   Schedule, ECF No. 18, and (2) extending Defendants’ deadline to respond to the
 2   FAC for thirty (30) days.
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 4
 5   Dated: March 28, 2025                          Respectfully submitted,
 6                                                  ROB BONTA
                                                    Attorney General of California
 7                                                  ANTHONY R. HAKL
                                                    Supervising Deputy Attorney General
 8                                                  GABRIELLE D. BOUTIN
                                                    Deputy Attorney General
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10
                                                    s/ Maria F. Buxton
11                                                  MARIA F. BUXTON
                                                    Deputy Attorney General
12                                                  Attorneys for Defendants
13
14
15   Dated: March 28, 2025                          s/ James K. Rogers
                                                    James K. Rogers
16                                                  Senior Counsel
                                                    America First Legal Foundation
17                                                  Attorney for Plaintiffs
18
19
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21                     FILER’S ATTESTATION (L. R. 5-4.3.4(a)(2))
22         I, Maria Buxton hereby attest in accordance with Local Rule 5-4.3.4(a)(2)
23   that all other signatories listed, and on whose behalf this filing is submitted, concur
24   in the filing’s content and have authorized the filing.
25   Dated: March 28, 2025                          /s/ Maria Buxton
26                                                  Maria Buxton
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                                               3                     Stipulation and Joint Request
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                              CERTIFICATE OF SERVICE
Case Name:     City of Huntington Beach, et al. v. The State of California, et al.
Case No.:      8:25-cv-00026-SSS-PDx

I hereby certify that on March 28, 2025, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:

   1. STIPULATION AND JOINT REQUEST TO (1) VACATE BRIEFING
      SCHEDULE ON DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED
      COMPLAINT, AND (2) EXTEND DEFENDANTS’ TIME RESPOND TO FIRST
      AMENDED COMPLAINT

   2. [PROPOSED] ORDER VACATING BRIEFING SCHEDULE ON
      DEFENDANTS’ MOTION TO DISMISS THE FIRST AMENDED
      COMPLAINT AND EXTENDING DEFENDANTS’ TIME TO RESPOND TO
      FIRST AMENDED COMPLAINT

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished electronically by the CM/ECF system.

I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct.

This declaration was executed on March 28, 2025, at San Francisco, California.

             Vanessa Jordan
               Declarant                                             Signature
